      Case 4:12-cr-00186-DPM Document 295 Filed 07/28/14 Page 1 of 4


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              IN THE UNITED STATES DISTRICT COURT                       STRICT ARKANSAs
                 EASTERN DISTRICT OF ARKANSAS                      JUL 28 2014
                          WESTERN DIVISION                ~I< CLE
                                                                                 ~ct
UNITED STATES OF AMERICA                                         PLAINTIFF

v.                           No. 4:12-cr-186-DPM-1

WALLANDO ONEZINE                                              DEFENDANT

                PRELIMINARY ORDER OF FORFEITURE

     1. As the result of Onezine's guilty plea to Count 1 of the Superseding

Information, Onezine shall forfeit to the United States all property used or

intended to be used in any manner or part to commit a violation of 21 U.S.C.

§ 846 as charged in Count 1 of the Superseding Information.

      2. The Court has determined, based on the evidence already in the

record, that the following property is subject to forfeiture under 18 U.S.C. §

924(d) and 28 U.S.C. § 2461(c), and that the government has established the

requisite nexus between the property and the offense charged in Count 1: a

Jimenez Arms, Model JA22, semiautomatic .22 caliber pistol, serial number

1138460.

      3. The United States Attorney General (or a designee) is authorized to

seize the property, and to conduct any discovery proper in identifying,

locating, or disposing of the property, in accordance with FED. R. CRIM. P.
       Case 4:12-cr-00186-DPM Document 295 Filed 07/28/14 Page 2 of 4




32.2(b)(3). The Attorney General (or a designee) may also commence any

applicable proceeding to comply with statutes governing third-party rights,

including giving notice of this Order.

      4. The United States shall publish notice of this Order and its intent to

dispose of the property in a manner prescribed by FED. R. CRIM. P. 32.2(b)(6)

and Supplemental Rule G(4)(a) of the Federal Rules of Civil Procedure. The

United States must send notice to any person who reasonably appears to be

a potential claimant with standing to contest the forfeiture pursuant to FED.

R. CRIM. P. 32.2(b)(6) and Supplemental Rule G(4)(b) of the Federal Rules of

Civil Procedure.

      4. Any person, other than Onezine, asserting a legal interest in the

property may, within thirty days of the final publication of notice or receipt

of notice, whichever is earlier, petition the Court for a hearing without a jury

to adjudicate the validity of his alleged interest in the property, and for an

amendment of this Order. 18 U.S.C. § 2253(b) (incorporating 21 U.S.C.

§ 853(n)); FED. R. CRIM. P. 32.2(c)(1).

      5. Onezine consented to forfeiture as part of his guilty plea. This Order

shall become final as to him no later than at the time of sentencing, and shall


                                          -2-
       Case 4:12-cr-00186-DPM Document 295 Filed 07/28/14 Page 3 of 4




be made part of the sentence and included in the judgment. FED. R. CRIM. P.

32.2(b)(4)(A). If no third party files a timely claim, this Order shall become a

final order of forfeiture. FED. R. CRIM. P. 32.2(c)(2).

      6. Any petition filed by a third party asserting an interest in the

property shall be signed by the petitioner under penalty of perjury and shall

set forth the nature and extent of the petitioner's right, title, or interest in the

property, the time and circumstances of the petitioner's acquisition of the

right, title, or interest in the property, any additional facts supporting the

petitioner's claim, and the relief sought.

      7. After the disposition of any motion filed under FED. R. CRIM. P.

32.2(c)(1)(A) and before a hearing on the petition, discovery may be

conducted in accordance with the Federal Rules of Civil Procedure if the

Court determines that discovery is necessary or desirable to resolve factual

issues. FED. R. CRIM. P. 32.2(c)(1)(B).

      8. The United States shall have clear title to the property after the

Court's disposition of all third-party interests, or, if none, following the

expiration of the period provided in 21 U.S.C. § 853(n) for the filing of third

party petitions.


                                          -3-
      Case 4:12-cr-00186-DPM Document 295 Filed 07/28/14 Page 4 of 4




      9. The Court retains jurisdiction to enforce this Order and to amend it

as necessary. FED. R. CRIM. P. 32.2(e).

      So Ordered.


                                            D.P. Marshall Jr.tf
                                            United States District Judge




                                      -4-
